 Fill in this information to identify your case:
 Debtor 1               Myron S. Lucan
                              First Name            Middle Name                Last Name
 Debtor 2
 (Spouse, if filing) First Name      Middle Name          Last Name
 United States Bankruptcy Court for the:         NORTHERN DISTRICT OF OHIO                                             Check if this is an amended plan, and
                                                                                                                       list below the sections of the plan that
                                                                                                                       have been changed.
                                                                                                                       To add domestic support obligation
 Case number:                 18-50233                                                                                 Part 8.1
 (If known)




Official Form 113
Chapter 13 Plan                                                                                                                                          12/17


 Part 1:       Notices

To Debtor(s):              This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                           indicate that the option is appropriate in your circumstances or that it is permissible in your judicial district. Plans that
                           do not comply with local rules and judicial rulings may not be confirmable.

                           In the following notice to creditors, you must check each box that applies

To Creditors:              Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.
                           You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have
                           an attorney, you may wish to consult one.

                           If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to
                           confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the Bankruptcy
                           Court. The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed. See
                           Bankruptcy Rule 3015. In addition, you may need to file a timely proof of claim in order to be paid under any plan.

                           The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the
                           plan includes each of the following items. If an item is checked as “Not Included” or if both boxes are checked, the provision
                           will be ineffective if set out later in the plan.

 1.1          A limit on the amount of a secured claim, set out in Section 3.2, which may result in              Included                    Not Included
              a partial payment or no payment at all to the secured creditor
 1.2          Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest,                Included                    Not Included
              set out in Section 3.4.
 1.3          Nonstandard provisions, set out in Part 8.                                                         Included                    Not Included


 Part 2:       Plan Payments and Length of Plan

2.1           Debtor(s) will make regular payments to the trustee as follows:

$1,477.00 per Month for 60 months

Insert additional lines if needed.

              If fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make the
              payments to creditors specified in this plan.

2.2           Regular payments to the trustee will be made from future income in the following manner.

              Check all that apply:
                       Debtor(s) will make payments pursuant to a payroll deduction order.
                       Debtor(s) will make payments directly to the trustee.
                       Other (specify method of payment):
                       Wage withholding

2.3 Income tax refunds.

APPENDIX D                                                                         Chapter 13 Plan                                              Page 1
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 Debtor                Myron S. Lucan                                                              Case number      18-50233

      Check one.
                          Debtor(s) will retain any income tax refunds received during the plan term.

                          Debtor(s) will supply the trustee with a copy of each income tax return filed during the plan term within 14 days of filing the
                          return and will turn over to the trustee all income tax refunds received during the plan term.

                          Debtor(s) will treat income refunds as follows:


2.4 Additional payments.
    Check one.
                  None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.

2.5          The total amount of estimated payments to the trustee provided for in §§ 2.1 and 2.4 is $28,500.00.

 Part 3:      Treatment of Secured Claims

3.1          Maintenance of payments and cure of default, if any.

          Check one.
                    None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.
                    The debtor(s) will maintain the current contractual installment payments on the secured claims listed below, with any changes
                    required by the applicable contract and noticed in conformity with any applicable rules. These payments will be disbursed either
                    by the trustee or directly by the debtor(s), as specified below. Any existing arrearage on a listed claim will be paid in full through
                    disbursements by the trustee, with interest, if any, at the rate stated. Unless otherwise ordered by the court, the amounts listed on
                    a proof of claim filed before the filing deadline under Bankruptcy Rule 3002(c) control over any contrary amounts listed below
                    as to the current installment payment and arrearage. In the absence of a contrary timely filed proof of claim, the amounts stated
                    below are controlling. If relief from the automatic stay is ordered as to any item of collateral listed in this paragraph, then, unless
                    otherwise ordered by the court, all payments under this paragraph as to that collateral will cease, and all secured claims based on
                    that collateral will no longer be treated by the plan. The final column includes only payments disbursed by the trustee rather than
                    by the debtor(s).
 Name of Creditor Collateral                        Current installment Amount of                    Interest rate    Monthly payment Estimated
                                                    payment                   arrearage (if any) on arrearage on arrearage                  total
                                                    (including escrow)                               (if applicable)                        payments by
                                                                                                                                            trustee
                        2007 Nissan
                        Pathfinder                                            Prepetition:
 OneMain                120000 miles                          $304.00                    $0.00            0.00%                                       $0.00
                                                    Disbursed by:
                                                        Trustee
                                                        Debtor(s)
                        1997 Jeep
 USAA Federal           Wrangler 138000                                       Prepetition:
 Savings Bank           miles                                  $75.00                    $0.00            0.00%                                       $0.00
                                                    Disbursed by:
                                                        Trustee
                                                        Debtor(s)
                        308 Sheri Dr,
                        Brunswick, OH
                        44212 Medina
 Wells Fargo            County
 Home                   PPN:                                                  Prepetition:
 Mortgage               003-18B-13-063                      $1,002.00             $12,509.00              0.00%                                $12,509.00
                                                    Disbursed by:
                                                        Trustee
                                                        Debtor(s)
Insert additional claims as needed.

3.2          Request for valuation of security, payment of fully secured claims, and modification of undersecured claims. Check one.

                          None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.

3.3          Secured claims excluded from 11 U.S.C. § 506.
Official Form 113                                                                Chapter 13 Plan                                               Page 2
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             Check one.
                     None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.

3.4          Lien avoidance.

Check one.
                          None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.

3.5          Surrender of collateral.

             Check one.
                     None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.

 Part 4:      Treatment of Fees and Priority Claims

4.1          General
             Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full
             without postpetition interest.

4.2          Trustee’s fees
             Trustee’s fees are governed by statute and may change during the course of the case but are estimated to be 7.20% of plan payments; and
             during the plan term, they are estimated to total $2,052.00.

4.3          Attorney's fees.

             The balance of the fees owed to the attorney for the debtor(s) is estimated to be $3,000.00.

4.4          Priority claims other than attorney’s fees and those treated in § 4.5.

             Check one.
                     None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced.

4.5          Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.

             Check one.
                     None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.



 Part 5:      Treatment of Nonpriority Unsecured Claims

5.1          Nonpriority unsecured claims not separately classified.

             Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata. If more than one option is checked, the option
             providing the largest payment will be effective. Check all that apply.
               The sum of $       .
                 100.00 % of the total amount of these claims, an estimated payment of $ 12,152.00 .
               The funds remaining after disbursements have been made to all other creditors provided for in this plan.



                If the estate of the debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid approximately $459.75.
                Regardless of the options checked above, payments on allowed nonpriority unsecured claims will be made in at least this amount.

5.2          Maintenance of payments and cure of any default on nonpriority unsecured claims. Check one.

                          None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.

5.3          Other separately classified nonpriority unsecured claims. Check one.

                          None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.


Official Form 113                                                                Chapter 13 Plan                                              Page 3
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 Debtor                Myron S. Lucan                                                                      Case number   18-50233

 Part 6:      Executory Contracts and Unexpired Leases

6.1          The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory
             contracts and unexpired leases are rejected. Check one.

                          None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.



 Part 7:      Vesting of Property of the Estate

7.1        Property of the estate will vest in the debtor(s) upon
      Check the appliable box:
            plan confirmation.
            entry of discharge.
            other:

 Part 8:      Nonstandard Plan Provisions

8.1          Check "None" or List Nonstandard Plan Provisions
                    None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.

                          Domestic Support Obligation, Total Claim: $0.00 Priority Amount: $0.00 Nonpriority Amount: $0.00 Arrearage: $0.00

                          Cuyahoga Co. CSEA                      Obligee: Rachal Burnkow
                          1640 Superior Ave.                     993 Substation
                          Cleveland, OH 44114                    Brunswick, OH 44212




 Part 9:      Signature(s):

9.1        Signatures of Debtor(s) and Debtor(s)’ Attorney
If the Debtor(s) do not have an attorney, the Debtor(s) must sign below, otherwise the Debtor(s) signatures are optional. The attorney for Debtor(s),
if any, must sign below.
 X /s/ Myron S. Lucan                                                   X
       Myron S. Lucan                                                        Signature of Debtor 2
       Signature of Debtor 1

       Executed on            March 16, 2018                                                 Executed on

 X     /s/ Andrew M. Korduba                                                          Date     March 16, 2018
       Andrew M. Korduba
       Signature of Attorney for Debtor(s)

By filing this document, the Debtor(s), if not represented by an attorney, or the Attorney for Debtor(s) also certify(ies) that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Official Form 113, other than any nonstandard provisions
included in Part 8.




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Exhibit: Total Amount of Estimated Trustee Payments
The following are the estimated payments that the plan requires the trustee to disburse. If there is any difference between the amounts set
out below and the actual plan terms, the plan terms control.

 a.    Maintenance and cure payments on secured claims (Part 3, Section 3.1 total)                                                           $12,509.00

 b.    Modified secured claims (Part 3, Section 3.2 total)                                                                                           $0.00

 c.    Secured claims excluded from 11 U.S.C. § 506 (Part 3, Section 3.3 total)                                                                      $0.00

 d.    Judicial liens or security interests partially avoided (Part 3, Section 3.4 total)                                                            $0.00

 e.    Fees and priority claims (Part 4 total)                                                                                                 $5,052.00

 f.    Nonpriority unsecured claims (Part 5, Section 5.1, highest stated amount)                                                             $12,509.00

 g.    Maintenance and cure payments on unsecured claims (Part 5, Section 5.2 total)                                                                 $0.00

 h.    Separately classified unsecured claims (Part 5, Section 5.3 total)                                                                            $0.00

 i.    Trustee payments on executory contracts and unexpired leases (Part 6, Section 6.1 total)                                                      $0.00

 j.    Nonstandard payments (Part 8, total)                                                                      +                                   $0.00


 Total of lines a through j                                                                                                                  $30,070.00




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                                      Certificate of Service


   I certify that on March 16, 2018, a true and correct copy of the foregoing was served:

   Via the court’s electronic filing system on these entities and individuals who are listed on
   the Court’s Electronic Mail Notice list:

   Office of the United States Trustee
   ** electronic notification**

   Keith L. Rucinski, Trustee
   ** electronic notification **

   And by regular U.S. mail, postage prepaid, on:

   Myron S. Lucan
   308 Sheri Dr.
   Brunswick, OH 44212

   All creditors
   (see attached)
                                                         /s/ Andrew M. Korduba
                                                         Andrew M. Korduba
                                                         Attorney for Debtor




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Label Matrix for local noticing                      455 John F. Seiberling Federal Building              American Profit Recovery
0647-5                                               US Courthouse                                        34405 West 12 Miles Road #333
Case 18-50233-amk                                    2 South Main Street                                  Farmington Hills, MI 48331-5608
Northern District of Ohio                            Akron, OH 44308-1848
Akron
Fri Mar 16 13:19:29 EDT 2018
Cuyahoga Co. CSEA                                    (p)JEFFERSON CAPITAL SYSTEMS LLC                     Midland Funding
1640 Superior Ave.                                   PO BOX 7999                                          Attn: Bankruptcy
Cleveland, OH 44114-2908                             SAINT CLOUD MN 56302-7999                            Po Box 939069
                                                                                                          San Diego, CA 92193-9069


NCB                                                  OneMain                                              OneMain
Attn: Bankruptcy                                     7560 Pearl Rd., Unit 9                               P.O. Box 3251
One Allied Dr                                        Cleveland, OH 44130-6431                             Evansville, IN 47731-3251
Trevose, PA 19053-6945


Rollc                                                USAA Federal Savings Bank                            Usaa Svg Bk
Roi                                                  Attn: Bankruptcy                                     Attn: Bankruptcy
1920 Greenspring Dr Ste 200                          10750 Mcdermott Freeway                              10750 Mcdermott Freeway
Timonium, MD 21093-4156                              San Antonio, TX 78288-1600                           San Antonio, TX 78288-1600


Wells Fargo Bank, N.A.                               Wells Fargo Home Mortgage                            Andrew M. Korduba
Attn: Payment Processing                             Written Correspondence Resolutions                   669 W. Liberty Street
MAC #X2302-04C                                       Mac#2302-04e                                         Medina, OH 44256-2225
One Home Campus                                      DesMoines, IA 50306
Des Moines, IA 50328-0001

Keith Rucinski                                       Myron S. Lucan
Chapter 13 Trustee                                   308 Sheri Drive
One Cascade Plaza Suite 2020                         Brunswick, OH 44212-1624
Akron, OH 44308-1160




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Jefferson Capital Systems, LLC
16 Mcleland Rd
Saint Cloud, MN 56303




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Wells Fargo Bank, N.A.                            End of Label Matrix
                                                     Mailable recipients    16
                                                     Bypassed recipients     1
                                                     Total                  17


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